                Case 1:14-cv-13171-RWZ Document 1 Filed 07/30/14 Page 1 of 9



 1                        UNITED STATES DISTRICT COURT
 2
                                     FOR THE
                           DISTRICT OF MASSACHUSETTS
 3

 4
     FRANK GAYE,                 )
 5                               )
              Plaintiff          )
 6
                                 )
 7         v.                    )             Civil Action No.:
                                 )
 8   CREDIT COLLECTION SERVICES, )             COMPLAINT AND DEMAND FOR
 9
     INC.,                       )             JURY TRIAL
                                 )
10            Defendant          )             (Unlawful Debt Collection Practices)
11
                                       COMPLAINT
12

13         FRANK GAYE (“Plaintiff”), by and through attorneys, KIMMEL &
14
     SILVERMAN, P.C., alleges the following against CREDIT COLLECTION
15
     SERVICES, INC. (“Defendant”):
16

17
                                     INTRODUCTION

18         1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices
19
     Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).
20
                              JURISDICTION AND VENUE
21

22         2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),

23   which states that such actions may be brought and heard before “any appropriate
24
     United States district court without regard to the amount in controversy,” and 28
25



                                             -1-

                                   PLAINTIFF’S COMPLAINT
                Case 1:14-cv-13171-RWZ Document 1 Filed 07/30/14 Page 2 of 9



 1   U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
 2
     under the laws of the United States.
 3
           3.      Defendant’s principal office is located in the Commonwealth of
 4

 5   Massachusetts and therefore, personal jurisdiction is established.
 6
           4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(1) and 1391(b)(2).
 7
                                            PARTIES
 8

 9
           5.      Plaintiff is a natural person residing in Philadelphia, Pennsylvania

10   19145.
11
           6.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
12
     1692a(3).
13

14         7.      In the alternative, Plaintiff is a person granted a cause of action under

15   the FDCPA. See 15 U.S.C. § 1692k(a) and Wenrich v. Cole, 2000 U.S. Dist.
16
     LEXIS 18687 (E.D. Pa. Dec. 22, 2000).
17
           8.      Defendant is a debt collection company with its corporate office
18

19   located at 2 Wells Avenue, Department 9133, Newton, Massachusetts 02459.

20         9.      Defendant is a “debt collector” as that term is defined by 15 U.S.C. §
21
     1692a(6), and sought to collect a consumer debt from Plaintiff.
22
           10.     Defendant acted through its agents, employees, officers, members,
23

24   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
25
     representatives, and insurers.

                                               -2-

                                      PLAINTIFF’S COMPLAINT
             Case 1:14-cv-13171-RWZ Document 1 Filed 07/30/14 Page 3 of 9



 1                                FACTUAL ALLEGATIONS
 2
           11.       At all relevant times, Defendant was attempting to collect an alleged
 3
     consumer debt from Plaintiff, for automobile insurance.
 4

 5         12.       The alleged debt Defendant was attempting to collect, a Progressive
 6
     Specialty Insurance auto policy premium, arose out of transactions, which were
 7
     primarily for personal, family, or household purposes.
 8

 9
           13.       Plaintiff disputes owing the alleged debt.

10         14.       At the time Plaintiff cancelled his auto insurance policy with
11
     Progressive, his policy had been paid and no amount was owed.
12
           15.       Nevertheless, beginning in or around August 2013 and continuing
13

14   through December 2013, Defendant contacted Plaintiff in an attempt to collect an

15   alleged debt.
16
           16.       In its attempts to collect an alleged debt, Defendant contacted
17
     Plaintiff on his home and cellular telephones.
18

19         17.       Plaintiff did not want to be contacted on his home and cellular

20   telephones by Defendant; accordingly, on at least one occasion, Plaintiff told
21
     Defendant to stop calling him.
22
           18.       In response, Defendant’s collector hung up on Plaintiff.
23

24         19.       Defendant never updated its records to stop the collection calls to
25
     Plaintiff and/or restricted calls to Plaintiff’s home and cellular telephone numbers.

                                                 -3-

                                      PLAINTIFF’S COMPLAINT
                 Case 1:14-cv-13171-RWZ Document 1 Filed 07/30/14 Page 4 of 9



 1         20.      Further, Defendant never investigated Plaintiff’s dispute of the debt
 2
     and/or marked the debt as disputed.
 3
           21.      Rather, Defendant persisted in calling Plaintiff despite knowing that
 4

 5   he did not want to be contacted on his home and cellular telephones and that he
 6
     disputed owing the debt.
 7
           22.      Lastly, in its attempts to collect a debt, Defendant sent Plaintiff letters
 8

 9
     seeking and demanding payment of the alleged debt.

10         23.      Specifically, on or after August 15, 2013, Defendant sent Plaintiff a
11
     letter threatening that “adverse credit information is scheduled to be reported on or
12
     after 09/21/13.” See Exhibit A, Defendant’s August 15, 2013, letter.
13

14         24.      Because he did not owe the debt and did not want this to adversely

15   affect his credit, Plaintiff contacted Defendant and advised them of his dispute of
16
     the debt.
17
           25.      Nevertheless, on or after October 24, 2013, Defendant sent Plaintiff
18

19   correspondence with “CREDIT REPORTING ALERT,” which Plaintiff

20   understood to mean that Defendant had reported this debt to the credit reporting
21
     bureaus. See Exhibit B, Defendant’s October 24, 2013, letter.
22
           26.      Nowhere in its correspondence to Plaintiff does Defendant inform
23

24   Plaintiff that it notified the credit reporting bureaus that the debt was disputed, and
25
     upon information and belief, Defendant did not notify the credit reporting bureaus

                                                 -4-

                                      PLAINTIFF’S COMPLAINT
             Case 1:14-cv-13171-RWZ Document 1 Filed 07/30/14 Page 5 of 9



 1   that the debt was disputed. See Exhibit B.
 2
           27.    Further, in its October 24, 2013, letter, Defendant threatened to
 3
     contact Plaintiff at his “residence and/or place of employment” if he did not
 4

 5   contact Defendant. See Exhibit B.
 6
           28.    Defendant knew at the time it sent its October 24, 2013, letter that
 7
     Plaintiff did not want to be contacted on the telephone, but determined to continue
 8

 9
     to contact him and escalate its contacts by seeking to contact him at his place of

10   employment to pressure Plaintiff into paying the disputed debt.
11
           29.    Then, on or after December 4, 2013, Defendant sent Plaintiff
12
     correspondence with the words “CREDIT REPORTING ALERT” appearing in
13

14   bold font around the letter and stating “your account was reported to a credit

15   bureau(s) and now displays a serious delinquent payment obligation.” See Exhibit
16
     C, Defendant’s December 4, 2013, letter.
17
           30.    Again, nowhere in its correspondence to Plaintiff does Defendant
18

19   inform Plaintiff that it also notified the credit reporting bureaus that the alleged

20   debt was disputed. See Exhibit C.
21
           31.    Upon information and belief, Defendant did not notify the credit
22
     reporting bureaus that the alleged debt was disputed.
23

24         32.    Upon information and belief, when Defendant reported the debt to the
25
     credit reporting bureaus, it had not investigated Plaintiff’s dispute of the debt

                                             -5-

                                   PLAINTIFF’S COMPLAINT
             Case 1:14-cv-13171-RWZ Document 1 Filed 07/30/14 Page 6 of 9



 1   and/or it was not in possession of any information (i.e. payment history, insurance
 2
     policy, or cancellation letter) showing that there was an actual debt owed.
 3
           33.    Defendant’s actions as described herein were made with the intent to
 4

 5   harass, abuse, deceive, and act unfairly towards Plaintiff.
 6
                             DEFENDANT VIOLATED THE
 7                     FAIR DEBT COLLECTION PRACTICES ACT

 8                                        COUNT I
 9
           34.    Defendant’s conduct, as detailed in the preceding paragraphs, violated
10
     15 U.S.C. §§ 1692d and 1692d(5).
11

12                a.     A debt collector violates § 1692d of the FDCPA by engaging in
13                       conduct the natural consequence of which is to harass, oppress,
14
                         or abuse any person in connection with the collection of a debt.
15
                  b.     A debt collector violates § 1692d(5) of the FDCPA by causing
16

17                       a telephone to ring or engaging any person in telephone
18
                         conversation repeatedly or continuously with intent to annoy,
19
                         abuse, or harass any person at the called number.
20

21
                  c.     Here, Defendant violated §§ 1692d and 1692d(5) of the

22                       FDCPA by repeatedly and continuously calling Plaintiff on his
23
                         home and cellular telephones after telling Defendant to stop
24
                         contacting him, and hanging up on Plaintiff after he advised
25



                                              -6-

                                    PLAINTIFF’S COMPLAINT
             Case 1:14-cv-13171-RWZ Document 1 Filed 07/30/14 Page 7 of 9



 1                     them that he disputed the debt.
 2
                                           COUNT II
 3
           35.   Defendant’s conduct, as detailed in the preceding paragraphs, violated
 4

 5   15 U.S.C. §§ 1692e, 1692e(2)(A) and 1692e(11).
 6
                 a.    A debt collector violates § 1692e of the FDCPA by using any
 7
                       false, deceptive, or misleading representation or means in
 8

 9
                       connection with the collection of any debt.

10               b.    A debt collector violates § 1692e(2)(A) of the FDCPA by
11
                       falsely representing the character, amount or legal status of any
12
                       debt.
13

14               c.    A debt collector violates § 1692e(8) of the FDCPA by

15                     communicating or threatening to communicate to any person
16
                       credit information which is known or which should be known
17
                       to be false, including the failure to communicate that a disputed
18

19                     debt is disputed.

20               d.    Here, Defendant violated §§ 1692e, 1692e(2)(A) and 1692e(8)
21
                       of the FDCPA by failing to communicate to the credit reporting
22
                       agency that Plaintiff disputed the debt and falsely stating that
23

24                     Plaintiff owed a debt when no debt was owed.
25



                                             -7-

                                  PLAINTIFF’S COMPLAINT
             Case 1:14-cv-13171-RWZ Document 1 Filed 07/30/14 Page 8 of 9



 1                                      COUNT III
 2
           36.   Defendant’s conduct, as detailed in the preceding paragraphs, violated
 3
     15 U.S.C. §§ 1692f and 1692f(1).
 4

 5               a.    A debt collector violates § 1692f of the FDCPA by using unfair
 6
                       or unconscionable means to collect or attempt to collect any
 7
                       debt.
 8

 9
                 b.    A debt collector violates § 1692f(1) of the FDCPA by

10                     collecting an amount (including any interest, fee, charge, or
11
                       expense incidental to the principal obligation) unless such
12
                       amount is expressly authorized by the agreement creating the
13

14                     debt or permitted by law.

15               c.    Here, Defendant violated §§ 1692f and 1692f(1) of the FDCPA
16
                       by failing to investigate Plaintiff’s dispute of the debt, failing to
17
                       update its records to stop the calls to Plaintiff’s telephones,
18

19                     threatening to call him at his place of employment, trying to

20                     collect a debt that was not owed, and engaging in other unfair
21
                       and unconscionable conduct.
22

23

24

25



                                             -8-

                                  PLAINTIFF’S COMPLAINT
               Case 1:14-cv-13171-RWZ Document 1 Filed 07/30/14 Page 9 of 9



 1          WHEREFORE, Plaintiff, FRANK GAYE, respectfully prays for a judgment
 2
     as follows:
 3
                   a.      All   actual    damages     suffered   pursuant   to   15   U.S.C.
 4

 5                         §1692k(a)(1);
 6
                   b.      Statutory damages of $1,000.00 for the violation of the FDCPA
 7
                           pursuant to 15 U.S.C. §1692k(a)(2)(A);
 8

 9
                   c.      All reasonable attorneys’ fees, witness fees, court costs and

10                         other litigation costs incurred by Plaintiff pursuant to 15 U.S.C.
11
                           § 1693k(a)(3); and
12
                   d.      Any other relief deemed appropriate by this Honorable Court.
13

14                               DEMAND FOR JURY TRIAL

15          PLEASE TAKE NOTICE that Plaintiff, FRANK GAYE, demands a jury
16
     trial in this case.
17

18
                                                RESPECTFULLY SUBMITTED,
19

20   Date: July 30, 2014                    By:__/s/ Craig Thor Kimmel______
                                              Craig Thor Kimmel
21                                            BBO# 662924
22
                                              Kimmel & Silverman, P.C.
                                              30 E. Butler Pike
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                                                 -9-

                                      PLAINTIFF’S COMPLAINT
